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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                        §
    In re:                                                              § Chapter 11
                                                                        §
    IHEARTMEDIA, INC., et al.,1                                         § Case No. 18-31274 (MI)
                                                                        §
                               Debtors.                                 § (Jointly Administered)
                                                                        §

    AMENDED AGENDA FOR MOTIONS SCHEDULED FOR JUNE 7, 2018, AT 3:30 P.M.
 (PREVAILING CENTRAL TIME), BEFORE THE HONORABLE MARVIN ISGUR
AT THE UNITED STATES BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT
 OF TEXAS, AT COURTROOM 404, 515 RUSK STREET, HOUSTON, TEXAS 770022

       The above-referenced debtors and debtors in possession (collectively, the “Debtors”)
hereby file their agenda for matters set for hearing on June 7, 2018, at 3:30 p.m. (prevailing Central
Time).

I.           DIP FINANCING MATTER

1.           Debtors’ Motion for Entry of an Order (I) Authorizing Debtors to Obtain Postpetition
             Financing Pursuant to 11 U.S.C. §§ 105, 362, 363(b), 364(c)(1), 364(d)(1) and 364(e),
             (II) Granting Adequate Protection to Prepetition Secured Parties Pursuant to
             11 U.S.C. §§ 361, 362, 363, 364 and 507(b) and (III) Authorizing Debtors to Obtain Exit
             Financing [Docket No. 745]

                    Responses Received: None

                    Related Documents:

                    A.       Proposed Order (I) Authorizing Debtors to Obtain Postpetition Financing
                             Pursuant to 11 U.S.C. §§ 105, 362, 363(b), 364(c)(1), 364(d)(1) and
                             364(e), (II) Granting Adequate Protection to Prepetition Secured Parties


1
      Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
      complete list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
      noticing agent at https://cases.primeclerk.com/iheartmedia. The location of Debtor iHeartMedia, Inc.’s principal
      place of business and the Debtors’ service address is: 20880 Stone Oak Parkway, San Antonio, Texas 78258.
2
      Changes from the original Agenda for Motions Scheduled for June 7, 2018, at 3:30 p.m. (Prevailing Central
      Time), Before the Honorable Marvin Isgur at the United States Bankruptcy Court for the Southern District
      of Texas, at Courtroom 404, 515 Rusk Street, Houston, Texas 77002 [Docket No. 906] are noted in bold and
      italic print herein.
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                    Pursuant to 11 U.S.C. §§ 361, 362, 363, 364 and 507(b) and
                    (III) Authorizing Debtors to Obtain Exit Financing [Docket No. 907]

             B.     Stipulation and Agreed Order Among the Debtors, the Official Committee of
                    Unsecured Creditors and the ABL Secured Parties [Docket No. 908]

             C.     Proposed Order (I) Authorizing Debtors to Obtain Postpetition Financing
                    Pursuant to 11 U.S.C. §§ 105, 362, 363(b), 364(c)(1), 364(d)(1) and
                    364(e), (II) Granting Adequate Protection to Prepetition Secured Parties
                    Pursuant to 11 U.S.C. §§ 361, 362, 363, 364 and 507(b) and
                    (III) Authorizing Debtors to Obtain Exit Financing [Docket No. 911]

             Status: This matter is going forward.

2.    Debtors’ Motion for Entry of an Order Authorizing the Debtors to File Under Seal the
      Dip Facility Fee Letter [Docket No. 744]

             Responses Received: None

             Related Documents:

             A.     Sealed Document - DIP Facility Fee Letter [Docket No. 746]

             Status: This matter is going forward.

II.   INCENTIVE PLAN MOTION MATTER

3.    Debtors’ Supplemental Motion for Entry of an Order Authorizing and Approving the Debtors’
      2018 Incentive Plans [Docket No. 898]

             Responses Received: None

             Related Documents:

             A.     Notice of Reset Hearings [Docket No. 831]

             B.     Order Continuing the Hearings [Docket No. 848]

             C.     Debtors’ Witness and Exhibit List for June 7, 2018 [Docket No. 889]

             D.     Witness and Exhibit List of United States Trustee [Docket No. 891]

             E.     Amended Witness        and   Exhibit   List   of   United   States   Trustee
                    [Docket No. 892]

             F.     Debtors’ Motion for Entry of an Order Authorizing and Approving the
                    Debtors’ 2018 Incentive Plans [Docket No. 606]
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              G.     Notice of Filing of Amended Exhibits C and D Attached to the Debtors’
                     Motion for Entry of an Order Authorizing and Approving the Debtors’ 2018
                     Incentive Plans [Docket No. 895]

              H.     Notice of Filing of Revised Proposed Order Regarding Debtors’ Motion for
                     Entry of an Order Authorizing and Approving the Debtors' 2018 Incentive
                     Plans [Docket No. 896]

              I.     Notice of Withdrawal of Debtors’ Motion for Entry of an Order Authorizing
                     the Debtors to File Under Seal the Performance Metrics for the 2018 Incentive
                     Plans [Docket No. 897]

              Status: The Debtors are going forward with a revised form of order with respect to
              the non-insider incentive plan only. The insider incentive plan will be adjourned
              to a hearing to be scheduled and the objection deadline for solely the U.S. Trustee
              has been extended.

III.   LETTER TO RECONSIDER

4.     Letter to Reconsider filed by John Voskuhl of Bloomberg News [Docket No. 844]

              Responses Received:

              A.     Debtors’ Objection to John Voskuhl’s Letter Requesting Reconsideration
                     of the Order Authorizing the Debtors to Redact Information in Respect of
                     Individual Employees and Creditors [Docket No. 905]

              Related Documents: None

              Status: This matter is going forward.
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Houston, Texas
June 7, 2018

/s/ Patricia B. Tomasco
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                                             and Debtors in Possession
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                                     Certificate of Service

        I certify that on June 7, 2018, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                      /s/ Patricia B. Tomasco
                                                      Patricia B. Tomasco
